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                     UNITED STATES DISTRICT COURT

                        SOUTHERN DISTRICT OF TEXAS

                              HOUSTON DIVISION


UNITED STATES OF AMERICA                      §
                                              §
                   v.                         §     CRIMINAL NO. H-13-363
                                              §
JAMES WAYNE HAM                               §

          NOTICE OF INTENT TO SEEK THE DEATH PENALTY

      COMES NOW, the United States of America, by and through the United

States Attorney for the Southern District of Texas, Kenneth Magidson, and Joe

Magliolo and Suzanne Elmilady, Assistant United States Attorneys, and pursuant to

Title 18, United States Code, Section 3593(a), and files this Notice of Intent to Seek

the Death Penalty, notifying the Court and the Defendant, JAMES WAYNE HAM

(HAM), that in the event Defendant is convicted of Count 1, the first degree murder

of a federal employee, in violation of Title 18, United States Code, Sections 1114

and 1111, and/or Count 2, discharging a firearm during and in relation to a crime of

violence resulting in death, in violation of Title 18, United States Code, Sections

924(c)(1) and 924(j)(1), the Government believes a sentence of death is justified,

and the Government will seek a sentence of death.

      The Government intends to prove the following statutory aggravating factors
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pursuant to Title 18, United States Code, Sections 3591(a)(2) and 3592(c) as

charged in the Indictment, hereby incorporated by reference, and non-statutory

aggravating factors pursuant to Title 18, United States Code, Section 3593(a)(2), as

justifying a sentence of death.

A.    Statutory Factors Enumerated Pursuant to Title 18, United States Code,

      Section 3591(a)(2)

      The Government will seek to prove the following threshold findings as the

basis for imposition of the death penalty in relation to Count 1 of the Indictment:

      1.      HAM intentionally killed the victim, Eddie Marie Youngblood, a

              federal employee, killed during the course of her duties as a federal

              employee 18 U.S.C. § 3591(a)(2)(A)); and

      2.      HAM intentionally planned to kill Eddie Marie Youngblood (18

              U.S.C. § 3591(a)(2)(A));

B.    Statutory Aggravating Factors Enumerated Pursuant to Title 18, United States

      Code, Section 3592(c)

      The Government will seek to prove the following statutory aggravating

factors as the basis for imposition of the death penalty in relation to Count 2 of the

Indictment:

      1.      HAM committed the offense after substantial planning and

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              premeditation to cause the death of a person, Eddie Marie

              Youngblood (18 U.S.C. § 3592 (c)(9)).

           2. HAM during the commission or attempted commission of, or during

              the immediate flight from the commission of, the destruction of motor

              vehicles, the destruction of Government property by explosives, and

              the destruction of property affecting interstate commerce by

              explosives, caused the death of Eddie Marie Youngblood (18 U.S.C. §

              3592(c)(1); § 33(a); § 844(f); § 844(i)).

           3. HAM committed the offense in an especially heinous, cruel, or

              depraved manner in that it involved torture or serious physical abuse to

              the victim, Eddie Marie Youngblood (18 U.S.C. § 3592(c)(6)).

      4.      HAM, in the commission of the offense, or in escaping apprehension

              for the violation of the offense created a grave risk of death to 1 or more

              persons in addition to the victim of the offense, his ex-wife Brandi Ham

              (18 U.S.C. §(c)(5)).

C.    Non-Statutory Aggravating Factors Enumerated Pursuant to Title 18, United

      States Code, Section 3593(a)

      The Government will seek to prove the following non-statutory aggravating

factors as the basis for imposition of the death penalty in relation to Counts 1 and/or

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2 of the Indictment:

1.    FUTURE DANGEROUSNESS OF THE DEFENDANT

      The nature of the HAM’s prior criminal conduct illustrates a comprehensive

and progressively increasing pattern of violence and danger, with no regard for the

property, feelings, or the lives of others. The defendant deliberately resorts to

violence as a way to manipulate and control people in his life.

      It is evident from HAM’s progressively increasing violent criminal history,

attempted manipulation of the criminal justice system, unwillingness to comply

with judicial orders, and his lack of remorse even for the senseless murder of a

fellow human being, that HAM exhibits a serious risk of future danger should the

death penalty not be sought.

      a.     Continuing Pattern of Violence

      HAM has engaged in a continuing pattern of violence, attempted violence,

and threatened violence, including many other crimes.

             i.    Other Crimes: Sexual Assault, Violence Against Women and
                   Assaults

      HAM has a long history of violence and has a conviction for assault causing

bodily injury to a family member. He received a deferred adjudication for

aggravated assault causing serious bodily injury. HAM also has a pending case

involving charges of felony sexual assault and assault on a family member,
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namely, Angie Ham. There is also an open investigation involving the sexual

assault of Terri Owensbey, the woman HAM met in a bar.

             ii.    Other Crimes: Firearms

      HAM has a long history of using deadly weapons against people and

animals. He threatened to kill his first wife, Brandi Ham, at gun point with a

.30-30 rifle. He raped his second wife, Angie Ham, at gun point, while armed

with a .380 pistol. He shot and killed two (2) dogs belonging to Joshua Bourban.

He shot and killed two (2) of Angie Ham’s pet goats. He fired seven (7) rounds

from a .380 caliber handgun at Steven Weidner and Daren Weidner. HAM stole

three (3) firearms from the residence he burglarized.

      Moreover, there are two (2) pending cases against HAM: deadly conduct

and discharge of a firearm.

             iii.   Other Crimes: Arson

      HAM has a propensity to set things on fire when he feels he has been

wronged, and is connected to three (3) known arsons: (1) setting puppies on fire;

(2) setting a national forest on fire; and (3) setting a travel trailer/mobile home on

fire. And, as stated above with respect to the instant case, HAM also set ablaze

the victim (Eddie Marie Youngblood), the postal vehicle, and U.S. mail. He also

burned his clothes to destroy evidence.

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               iv.   Other Crimes

         HAM has a felony theft conviction. He also has a deferred adjudication for

felony theft, evading arrest in a motor vehicle, and interference with an emergency

call.

2.       VICTIM IMPACT EVIDENCE

         Eddie Marie Youngblood’s murder has seriously impacted her surviving

family members. Youngblood’s surviving family expressed their ongoing

sadness and anger over the tragedy, and they further expressed their desire that

HAM receive the death penalty for having murdered Youngblood. At least two

(2) of Eddie Marie Youngblood’s surviving family members, her sons, are also

letter carriers employed by the U.S. Postal Service, and they feel that their own

security is at risk due to their mother being murdered while delivering the mail.

They no longer feel safe on the job.

3.       VULNERABLE VICTIM

         Though not typical of “vulnerability,” as used and contemplated under 18

U.S.C. 3592(c)(11), Mrs. Youngblood was momentarily physically incapacitated

by HAM’s initial volley of gunfire and was immediately thereafter begging for her

life. Thus, arguably she was a vulnerable victim, though her momentary infirmity

was caused by HAM. Thus, this momentary vulnerability should be considered

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as a non-statutory aggravating factor.

      The Government further gives notice that in support of imposition of the death

penalty it intends to rely upon all evidence admitted by the Court at the guilt phase of

the trial and the offense of conviction as described in the Indictment as they relate to

the background and character of the defendant HAM, his moral culpability, and the

nature and circumstances of the offenses charged in the Indictment.



                                               Respectfully submitted,

                                               KENNETH MAGIDSON
                                               United States Attorney

                                               By: /s/_____________________
                                               Joe Magliolo
                                               Assistant United States Attorney


                                               By: /s/_________________
                                               Suzanne Elmilady
                                               Assistant United States Attorney




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                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing instrument has

been furnished to Katherine Scardino and Robert Morrow, Attorneys for Defendant

James Ham, via electronic transmission on October 3, 2014.




                                      /s/________________________
                                      Joe Magliolo
                                      Assistant United States Attorney

                                      /s/________________________
                                      Suzanne Elmilady
                                      Assistant United States Attorney




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